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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


COURTHOUSE NEWS SERVICE,
                                                     Case No: 1:21-cv-00197
                       Plaintiff,
               v.                                    Judge Michael R. Barrett

PAVAN PARIKH, in his official capacity as
Clerk of the Hamilton County Court of
Common Pleas,

                    Defendant.


                    PLAINTIFF’S REQUEST FOR ENTRY OF DEFAULT

       Comes now Courthouse News Service and hereby requests the Clerk to enter a default

against the defendant, Pavan Parikh on the basis that the record in this case demonstrates that

there has been a failure to plead or otherwise defend as provided by Rule 55(a) of the Federal

Rules of Civil Procedure.

                                                    Respectfully Submitted,


 Of Counsel:                                        /s/ Alexandra M. Berry
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                                                    Attorneys for Plaintiff Courthouse News
                                                    Service
    Case: 1:21-cv-00197-MRB Doc #: 20 Filed: 10/20/22 Page: 2 of 2 PAGEID #: 184




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 20th day of October 2022, a copy of the
foregoing document was served to counsel of record for Defendant via the Court’s CM/ECF
filing system.


                                                            /s/ Alexandra M. Berry
                                                            Alexandra M. Berry (0098176)




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